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                        IN THE UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION

GHASSAN SHAHIN and JAROSLAVA
SHAHIN,                                                        CASE NO.:

         Plaintiffs,

vs.

WELLS FARGO FINANCIAL NATIONAL
BANK,                                                          DEMAND FOR JURY TRIAL

      Defendant.
__________________________________/

                                    VERIFIED COMPLAINT

         COME NOW, Plaintiffs, GHASSAN SHAHIN and JAROSLAVA SHAHIN (hereafter

“Plaintiffs”), by and through undersigned counsel, and hereby sue Defendant, WELLS FARGO

FINANCIAL NATIONAL BANK (hereafter “Defendant”), and state as follows:

                                 PRELIMINARY STATEMENT

         This action arises out of Defendant’s violations of the Telephone Consumer Protection

Act, 47 U.S.C. §§ 227 et seq. (hereafter the “TCPA”).

                                 JURISDICTION AND VENUE

       1.       Jurisdiction and venue for purposes of this action are appropriate and conferred by

28 U.S.C. § 1331, Federal Question Jurisdiction, as this action involves violations of the TCPA

and/or by F.S. § 47.011 and/or by 28 U.S.C § 1332, diversity jurisdiction.

       2.       Subject matter jurisdiction, federal question jurisdiction, for purposes of this

action is appropriate and conferred by 28 U.S.C. § 1331, which provides that the district courts

shall have original jurisdiction of all civil actions arising under the Constitution, laws, or treaties

of the United States; and this action involves violation of 47 U.S.C. § 227(b)(1)(A)(iii).
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       3.       Venue is proper in this District because the phone calls were received in this

District and Defendant transacts business in Pinellas County, Florida.

                                  FACTUAL ALLEGATIONS

       4.       Plaintiffs are individuals residing in Pinellas County, Florida.

       5.       Defendant is a “persons” subject to regulations under 47 U.S.C. § 227(b)(1).

       6.       It is alleged by Defendant that Plaintiffs owe a debt to Defendant relating to a

Wells Fargo/Mattress Firm Credit Card Account, Account No. ending in - 7807.

       7.       Plaintiffs revoked any prior express consent to contact Plaintiffs via cell phone or

any other form of communication on June 26, 2014, when Plaintiffs advised Defendant to stop

calling their cellular telephones via facsimile transmission to Defendant’s, facsimile number,

888-257-7799.

       8.       All calls to Plaintiffs’ cellular telephones were made after Plaintiffs revoked any

“alleged” consent and without the “prior express consent” of Plaintiffs.

       9.       In addition to the request not to be contacted by Defendant, Plaintiffs’ facsimile

transmission directed Defendant to contact Plaintiffs’ attorney and included the contact

information for the law firm.

       10.      Despite receiving written revocation from Plaintiffs to stop calling Plaintiffs’

cellular telephones, Defendant continued to call Plaintiffs’ cellular telephones.

       11.      Defendant intentionally harassed and abused Plaintiffs on numerous occasions by

calling several times per day, and on back to back days, with such frequency as can be

reasonably expected to harass.

       12.      Plaintiff, GHASSAN SHAHIN (“Mr. Shahin”), is the regular user and carrier of

the cellular telephone numbers ending in -0524 and -0344, and was the called party and recipient



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of calls made by Defendant’s automatic telephone dialing system and/or artificial or prerecorded

voice.

         13.   Plaintiff, JAROSLAVA SHAHIN (“Mrs. Shahin”), is the regular user and carrier

of the cellular telephone number ending in -5605, and was the called party and recipient of calls

made by Defendant’s automatic telephone dialing system and/or artificial or prerecorded voice.

         14.   Defendant knowingly or willfully called Plaintiffs’ cellular telephones after

Defendant had unequivocal notice from Plaintiffs to cease any and all calls and after Plaintiffs

withdrew any prior consent or permission to be contacted.

         15.   Defendant knowingly or willfully called Plaintiffs’ cellular telephones after

Defendant had unequivocal notice that Plaintiffs were represented by an attorney and could

readily ascertain the Firm’s contact information.

         16.   Defendant used an automatic telephone dialing system or an artificial or

prerecorded voice to place telephone calls to Plaintiffs’ cellular telephones after Plaintiffs

revoked any alleged consent for Defendant to contact Plaintiffs cellular telephones.

         17.   The following phone numbers, including, but not limited to, 855-766-5473 and

800-572-5879, are phone numbers Defendant used to call Plaintiffs’ cellular telephones.

         18.   Defendant has, or should be in possession and/or control of call logs, account

notes, autodialer reports and/or other records that detail the exact number of all calls made to

Plaintiffs.

         19.   Defendant placed calls to Plaintiffs’ cellular telephones that included delays in

time before the telephone call was transferred to a representative to speak.

         20.   Some of the representatives who called Plaintiffs’ cellular telephones sounded

like an artificial or pre-recorded voice.



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       21.     Plaintiffs did not speak with a representative during some of the phone calls

placed by Defendant because there was no representative on the telephone call that spoke or

attempted to communicate with Plaintiffs after Plaintiffs answered the telephone call.

       22.     Plaintiffs’ attorney did not fail to respond within a reasonable period of time to

any communication from Defendant, did not consent to Defendant’s direct communication with

Plaintiffs, and Plaintiffs did not initiate any communications.

       23.     None of Defendant’s telephone calls placed to Plaintiffs were for “emergency

purposes” as specified in 47 U.S.C. § 227 (b)(1)(A).

       24.     None of Defendant’s telephone calls placed to Plaintiffs were made with

Plaintiffs’ “prior express consent” as specified in 47 U.S.C. § 227 (b)(1)(A).

       25.     All conditions precedent to the filing of this lawsuit have been performed or have

occurred.

                                   COUNT I
                  VIOLATION OF THE TCPA, 47 U.S.C. § 227(b)(1)(A)(iii)

       26.     Plaintiffs incorporate all allegations in paragraphs 1-25 as if stated fully herein.

       27.     Jurisdiction is proper, pursuant to 47 U.S.C. § 227(b)(3).

       28.     Defendant used an automatic telephone dialing system or an artificial or

prerecorded voice as defined by 47 U.S.C. § 227(a)(1)(A)(iii) to make telephone calls to

Plaintiffs’ cellular telephones.

       29.     Defendant independently violated 47 U.S.C. § 227(b)(1)(A)(iii) for each call that

Defendant placed to Plaintiffs’ cellular telephones using an automatic telephone dialing system

or an artificial or prerecorded voice.




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       30.     The phone calls made by Defendant are considered willing and knowing

violations of the TCPA, as Defendant is a sophisticated credit lender that is well aware of the

TCPA and its prohibitions.

       WHEREFORE, Plaintiffs, GHASSAN SHAHAIN and JAROSLAVA SHAHIN,

demand judgment against Defendant, WELLS FARGO FINANCIAL NATIONAL BANK, for

the following relief:

               a.       statutory damages pursuant to 47 U.S.C. § 227(b)(3)(B) in the amount of

$500.00 for each of the independent violations occurring after Plaintiffs revocation;

               b.       an increase in the amount of the award to an amount equal to three times

the amount available pursuant to 47 U.S.C. § 227(b)(3)(B) where each of Defendant’s

independent violations were made willfully or knowingly; and

               c.       any other relief the Court deems just and proper.


                                  DEMAND FOR JURY TRIAL

         Plaintiffs demand a trial by jury as to all issues.




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     August 15, 2017
